Case 1:21-cr-00052-TJK Document 45 Filed 01/16/21 Page 1 of 6
                      Case
                      Case 6:21-mj-04007-MWP
                           1:21-cr-00052-TJK Document
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                                                                01/16/21 Page
                                                                         Page 23
                                                                               1 of
                                                                                 of 63
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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Western District
                                                    __________        of New
                                                               District       York
                                                                         of __________

                  United States of America                          )
                             v.                                     )
                                                                    )    Case No. 21-MJ-4007
                                                                    )
                   DOMINIC PEZZOLA                                  )        Charging District’s
                           Defendant                                )        Case No. 1:21-MJ-00047

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                  District of Columbia           ,
(if applicable)                                      division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:        ’ will retain an attorney.
                                ’ is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:     January 16, 2021
                                                                                           Judge’s signature

                                                                                     Marian W. Payson, USMJ
                                                                                         Printed name and title




                                                                                                                              3
                       Case 1:21-cr-00052-TJK Document 45 Filed 01/16/21 Page 3 of 6
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Western District
                                                    __________        of New
                                                               District       York
                                                                         of __________

                  United States of America                          )
                             v.                                     )
                                                                    )    Case No. 21-MJ-4007
                                                                    )
                   DOMINIC PEZZOLA                                  )        Charging District’s
                           Defendant                                )        Case No. 1:21-MJ-00047

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                  District of Columbia           ,
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Date:     January 16, 2021
                                                                                           Judge’s signature

                                                                                     Marian W. Payson, USMJ
                                                                                         Printed name and title
          Case 1:21-cr-00052-TJK Document 45 Filed 01/16/21 Page 4 of 6
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

v.                                                                 21___-___-___
                                                                   __    MJ 4007 ______
DOMINIC PEZZOLA
_____________________________________,
                  Defendant.


           ORDER REGARDING USE OF VIDEO OR TELECONFERENCING

       In accordance with the General Order issued on September 23, 2020, this Court finds:

  ✔
______That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation with

counsel; and

The proceeding(s) held on this date may be conducted by:

  ✔
______Video Teleconferencing

______Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

       ______The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

       ______Other:




       IT IS SO ORDERED.

 Date: January 15, 2021                                      s/Marian W. Payson
                                                                Marian W. Payson
                                                              United States Magistrate Judge
        Case
        Case 6:21-mj-04007-MWP  Document456 Filed
             1:21-cr-00052-TJK Document     Filed 01/16/21
                                                  01/16/21 Page
                                                           Page 51 of
                                                                   of 63


                                                                                    CLOSED
                          U.S. DISTRICT COURT
     U.S. District Court, Western District of New York (Rochester)
 CRIMINAL DOCKET FOR CASE #: 6:21−mj−04007−MWP All Defendants

Case title: USA v. Pezzola                            Date Filed: 01/15/2021
                                                      Date Terminated: 01/16/2021

Assigned to: Hon. Marian W. Payson

Defendant (1)
Dominic Pezzola                        represented by Michael P. Scibetta
TERMINATED: 01/16/2021                                The Scibetta Law Office
                                                      The Irving Place Building
                                                      30 West Broad Street − Suite 500
                                                      Rochester, NY 14614
                                                      585−232−2770
                                                      Fax: 585−232−3803
                                                      Email: mike@scibettalawoffice.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

Pending Counts                                        Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                     Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                            Disposition
None



Plaintiff
USA                                    represented by Brett A. Harvey
                                                      U.S. Attorney's Office
                                                      100 State Street

                                                                                             1
      Case 6:21-mj-04007-MWP
      Case 1:21-cr-00052-TJK Document
                              Document456 Filed
                                          Filed 01/16/21
                                                01/16/21 Page
                                                         Page 62 of
                                                                 of 63


                                                            Rochester, NY 14614
                                                            585−263−6760
                                                            Fax: 585−263−6226
                                                            Email: brett.harvey@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: government attorney

Date Filed   # Page Docket Text
01/15/2021   1       Minute Entry for proceedings held before Hon. Marian W. Payson:Initial
                     Appearance in Rule 5(c)(3) Proceedings as to Dominic Pezzola held on
                     1/15/2021. Defendant surrendered himself today. Defendant consents to
                     appearing by video. Defendant advised of rights. Pursuant to Fed. R. Crim. P
                     5(f), the Court ordered the government to produce all exculpatory evidence
                     pursuant to Brady v. Maryland and its progeny, and advised that failure to do so
                     could result in consequences, including sanctions and contempt proceedings.
                     Defendant is advised of his rights. The government summarizes the charges.
                     Michael Scibetta appears as retained counsel. The government moves for
                     detention on risk of flight and dangerousness. Defendant waives his right to an
                     identity hearing and requests that the detention hearing and the preliminary
                     hearing be held in the charging district. The Court accepts the waiver. Defendant
                     to remain in custody pending his appearance in the District of
                     Columbia.Appearances by video: Brett Harvey, AUSA, Michael Scibetta, Esq.,
                     Dominic Pezzola from jail(Zoomgov.com Recording) (CAM) (Entered:
                     01/16/2021)
01/15/2021   2       WAIVER of Rule 5(c)(3) Hearing by Dominic Pezzola (CAM) (Entered:
                     01/16/2021)
01/15/2021   3       ORDER as to Dominic Pezzola regarding use of video or teleconferencing.
                     Signed by Hon. Marian W. Payson on 1/15/21.(CAM) (Entered: 01/16/2021)
01/15/2021   4       ORDER as to Dominic Pezzola re: Brady vs Maryland. Signed by Hon. Marian
                     W. Payson on 1/15/21.(CAM) (Entered: 01/16/2021)
01/16/2021   5    3 COMMITMENT TO ANOTHER DISTRICT as to Dominic Pezzola. Defendant
                    committed to District of District of Columbia. Signed by Hon. Marian W. Payson
                    on 1/16/21.(CAM) (Entered: 01/16/2021)




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